                        Case 20-11768-CSS   Doc 452-3   Filed 10/01/20   Page 1 of 2




                                                Exhibit C

                                            Wind Down Budget




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                                                                     EXHIBIT C
                               Case 20-11768-CSS                 Doc 452-3 Filed 10/01/20                     Page 2 of 2
Lucky Brand Dungarees, LLC, et al.
Wind Down Budget
$ in M

                                                                 Wind Down        Adjustment      Wind Down       Remaining
                                                                  Amount            for Pre‐        Amount        Wind Down
                                                                 From Final         Closing       Satisfied in    and Other
                                                                 DIP Order         Budgeted       Connection       Budgeted
                                                                  7/28/20201       Amounts        with Closing     Amounts1

I. Post Close Disbursements
    Operating Disbursements
    1.)    Merchandise Payments2                                         (4.6)           (2.7)            ‐                (7.2)
    2.)    Payroll & Related6                                            (1.4)           (2.0)            ‐                (3.4)
    3.)    Freight & Duty                                                (4.3)            ‐               ‐                (4.3)
    4.)    Ecomm Professional Fees                                       (0.7)           (0.2)            ‐               (0.9)
    5.)    Rent6                                                         (0.0)            ‐               ‐                (0.0)
    6.)    Occupancy                                                     (0.0)           (1.3)            ‐               (1.3)
    7.)    Sales & Use Tax                                               (2.4)            ‐               ‐               (2.4)
    8.)    Other Operating Costs                                         (0.5)           (2.3)            ‐               (2.8)
    9.)    Business Essential (IT & SG&A)                                (1.4)           (1.3)            ‐               (2.7)
    10.)     Total Mandatory Disbursements                              (15.3)           (9.8)            ‐              (25.1)
   Non‐Operating Costs
                                3
   11.) Professional Fee Escrow                                          (3.4)            ‐                3.4             ‐
                                  6
   12.) GOB Liquidation Expenses                                         (0.0)           (0.2)             ‐              (0.2)
   13.) CARES Act Deferred Social Security Payment                       (0.6)            ‐                ‐              (0.6)
                                    3,4
   14.) Other Non‐Operating Costs                                        (4.5)            ‐                0.8            (3.8)
   15.)   Total Non‐Operating Costs                                      (8.6)           (0.2)             4.2            (4.6)
   Restructuring Costs
   16.) Healthcare & Insurance                                           (0.6)           (0.8)            ‐               (1.4)
   17.) 503(b)(9) Claims                                                 (1.6)            ‐               ‐               (1.6)
   18.) Vacation / PTO / Severance                                       (1.4)            ‐               ‐               (1.4)
   19.) Other                                                            (1.0)            ‐               ‐               (1.0)
   20.) US Trustee Fees                                                  (0.5)            ‐               ‐               (0.5)
   21.)    Total Restructuring Costs                                     (5.2)           (0.8)            ‐               (6.0)
   22.)       Total Post‐Close Disbursements                            (29.1)          (10.7)             4.2           (35.7)
II. Cash on Hand & Transaction Costs
                         5
     23.) Cash On Hand                                                   (1.3)            ‐                1.3             ‐
                                         6
     24.) Future GOB and FF&E Proceeds                                    0.3             ‐                ‐               0.3
                                       3
     25.)  Pro Fees / Transaction Fees                                   (3.0)            ‐                3.0             ‐
     26.)    Subtotal: Cash & Transaction Costs                          (3.9)            ‐                4.3             0.3
   27.)      TOTAL                                                      (33.0)          (10.7)             8.4           (35.4)

III. Notes
         1) The budgeted amounts set forth in the "Wind Down Amount from Final DIP July 28, 2020" column provide the baseline
       for calculating the Release Consideration under the Plan, and the budgeted amounts set forth in the "Remaining Wind Down
       and Other Budgeted Amounts" column represent the total budget authority covering the post‐Sale Transaction Closing
       period.
         2) All amounts herein are presented as rounded to the nearest $100,000.
         3) A total of $11.3M was funded into the Professional Fee Escrow Account (as defined in the Plan) prior to the Closing of
       the Sale Transaction (as defined in the Plan) in respect of both pre‐Closing and post‐Closing budgeted amounts, payment of
       which is subject to the allowance process in the Chapter 11 Cases. Any unused Wind Down Budget amounts are available to
       fund the Release Consideration, subject to and in accordance with the terms of the Plan.
         4) Line 14 includes $750k of post‐Effective Date professional fees, which were budgeted and which were funded into the
       Professional Fee Escrow Account at the Closing, resulting in the post‐Closing adjustment reflected above.
         5) The $1.3M negative balance of cash on hand has been satisfied and removed as an input to the Wind Down Budget, as
       that amount relates to pre‐Closing performance and is thus outside the scope of both potential Release Consideration
       measured by the Wind Down Budget and sources to satisfy the Debtors' obligations under the Plan.
         6) The Debtors originally anticipated that GOB sales would conclude on or before August 31st. The Debtors continue to
       operate 8 GOB stores through September, which is expected to result in increased GOB proceeds and operating costs,
       neither of which are reflected herein, as they relate to the post‐Closing period.

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